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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

CAMERON LASHUN BONDS,

        Plaintiff,

v.                                                 Case No. 2:21-cv-02213-MSN-cgc

SHELBY COUNTY, TENNESSEE, a
Tennessee municipality; F/N/U Rounds,
in her individual capacity; SGT DEREK MARTIN,
in his individual capacity; OFFICER HERVELL
WILLIAMS, in his individual capacity; OFFICER
JONATHAN FULLILOVE, in his individual capacity;
OFFICER CORTEZ BLAIR, in his individual capacity;
and OFFICER JEREMY JORDAN, in his
individual capacity,

      Defendants.
______________________________________________________________________________

                                 JUDGMENT
______________________________________________________________________________

JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint (ECF

No. 1), filed April 6, 2021,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the

parties’ Joint Stipulation of Dismissal, filed November 8, 2021, (ECF No. 40) and under Fed. R.

Civ. P. 41(a)(1), settling this matter between the parties and dismissing all claims against

Defendants with prejudice, all claims against Defendants are DISMISSED WITH PREJUDICE.

APPROVED: s/ Mark S. Norris

                MARK S. NORRIS
                UNITED STATES DISTRICT JUDGE

DATE:           November 8, 2021
